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 8
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 9

10                     UNITED STATES DISTRICT COURT
11                FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
                                                ) Case No.: 2:25-cv-6364
13                                              )
     LEGENDS CONSORTIUM LLC, a                  )
14   California limited liability company       ) PLAINTIFF’S COMPLAINT FOR:
                                                )
                                                )   1. Trademark Infringement (15
15
                  Plaintiff,                    )       U.S.C. § 1114)
16
                                                )   2. False Designation of Origin /
                                                )
           vs.                                  )       Unfair Competition (15 U.S.C.
17                                              )       § 1125(a))
                                                )
18   LEGENDS ENCLAVE, a California              )   3. Violation of California
     Corporation; and DOES 1 through 10,        )       Business & Professions Code
19
     inclusive,                                 )       § 17200
                                                )
20                                              )   4. Intentional Interference with
                  Defendant.                    )       Prospective Economic
21                                              )
                                                )       Advantage
22                                              )
                                                )
23                                              )
                                                ) JURY TRIAL DEMAND
24                                              )
                                                )
                                                )
25                                              )
26
27

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                                            COMPLAINT
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 1         Plaintiff Legends Consortium LLC, a California limited liability company,

 2   “Plaintiff”), by their undersigned attorneys, file this Complaint against Defendant

 3   Legends Enclave (“Defendant”) for trademark infringement, false designation of

 4   origin, and unfair competition. In support thereof, Plaintiff state and allege as

 5   follows:

 6

 7                                    INTRODUCTION

 8
 9         1.     Plaintiff brings this lawsuit to protect the substantial goodwill they have

10   developed in the distinctive “LEGENDSCON” trademark, which is recognized in

11   the fan convention and entertainment space as identifying events produced by

12   Plaintiff. The LEGENDSCON mark has come to symbolize Plaintiff’s reputation for

13   conventions celebrating science fiction, literature, film, and related fandoms. The

14   mark has garnered a loyal following and significant industry recognition.

15         2.     That goodwill and reputation are now being threatened by Defendant’s

16   unauthorized use of the LEGENDSCON mark and confusingly similar branding.
17   Defendant’s conduct has misled the public, caused actual confusion, and disrupted
18   Plaintiff’s ability to host and promote their own events.
19         3.     Unless Defendant is enjoined from further use of the infringing name
20   and branding, its continued conduct will perpetuate consumer confusion, damage the
21   public perception of the LEGENDSCON brand, and cause irreparable harm to
22   Plaintiff’s business and reputation.
23         4.     This action seeks injunctive relief, damages, and other appropriate
24   remedies arising from Defendant’s willful acts of trademark infringement, false
25   designation of origin, unfair competition, and intentional interference with
26   Plaintiff’s business relationships.
27

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                                            COMPLAINT
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 1                             JURISDICTION AND VENUE

 2

 3         5.     This is an action arising under the federal Lanham Act, 15 U.S.C. §§

 4   1114 and 1125(a). This Court has subject matter jurisdiction pursuant to 28 U.S.C.

 5   §§ 1331 and 1338.

 6         6.     This Court has supplemental jurisdiction over Plaintiff’s related state

 7   law claims pursuant to 28 U.S.C. § 1367(a) because those claims are so related to

 8   the federal claims that they form part of the same case or controversy.

 9         7.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)

10   because a substantial part of the events or omissions giving rise to the claims

11   occurred in this District, and Defendant maintains its principal place of business and

12   has marketed, sold, or promoted infringing services within this District.

13                                        PARTIES

14
           8.     Plaintiff Legends Consortium LLC (“Legends Consortium”) is a
15
     California limited liability company with its principal place of business in Los
16
     Angeles County, California. Legends Consortium is the operating entity behind the
17
     “LegendsCon” event and the rightful owner of U.S. Trademark Registration No.
18
     7,550,135 for the word mark LEGENDSCON, issued by the United States Patent
19
     and Trademark Office on October 29, 2024.
20
           9.     On information and belief, Defendant Legends Enclave is a California
21
     nonprofit public benefit corporation that has promoted and offered fan convention
22
     services using the infringing “Legends Enclave” and “LegendsCon” names.
23
           10.    Plaintiff is unaware of the names and true capacities of Defendants,
24
     whether individual, corporate and/or partnership entities, named herein as DOES 1
25
     through 10, inclusive, and therefore sue them by their fictitious names. Plaintiff will
26
     seek leave to amend this complaint when their true names and capacities are
27
     ascertained. Plaintiff is informed and believes, and based thereon alleges, that said
28
     Defendant and DOES 1 through 10, inclusive, are in some manner responsible for
                                                3

                                            COMPLAINT
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 1   the wrongs alleged herein, and that at all times referenced each was the agent and

 2   servant of the other Defendants and was acting within the course and scope of said

 3   agency and employment. Plaintiff is informed and believes, and based thereon

 4   alleges, that at all relevant times herein, Defendant and DOES 1 through 10,

 5   inclusive, knew or reasonably should have known of the acts and behavior alleged

 6   herein and the damages caused thereby, and by their inaction ratified and encouraged

 7   such acts and behavior. Plaintiff further alleges that Defendant and DOES 1 through

 8   10, inclusive, have a non- delegable duty to prevent and/or remedy such acts and the

 9   behavior described herein, which duty Defendant and DOES 1 through 10, inclusive,

10   failed and/or refused to perform.

11

12                              FACTUAL ALLEGATIONS

13         11.    Plaintiff is the owner of the LegendsCon trademark, a distinctive

14   source-identifier in the fan convention industry. Operating under Legends

15   Consortium LLC, the company promotes fan convention events using the

16   LegendsCon name.
17         12.    The inaugural LegendsCon event was held on September 9 and 10,
18   2023, at the Los Angeles Marriott Burbank Convention Center. The event was well
19   received by attendees, sponsors, vendors, and members of the entertainment
20   industry. Since its inception, the LegendsCon brand has become associated with
21   high-quality fan experiences focused on science fiction, film, literature, and cosplay.
22         13.    On October 29, 2024, United States Trademark Registration No.
23   7,550,135 for the standard character word mark LEGENDSCON in International
24   Class 41 was obtained by Plaintiff’s President, Mr. Rawlings. The registration covers
25   a wide range of entertainment services, including organizing and conducting
26   conventions and events. The mark has since been assigned to the Plaintiff . A true
27   and correct copy of the federal registration is attached as EXHIBIT A.
28

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 1         14.    Through continuous use in commerce, extensive promotional efforts,

 2   and positive consumer experiences, Plaintiff has developed significant goodwill in

 3   the LegendsCon mark. That goodwill is closely tied to the original work and the

 4   events and services provided by Legends Consortium LLC. The LegendsCon mark

 5   has become known within the fan convention community, and the consuming public

 6   recognizes the mark as denoting a particular source of high-quality services.

 7         15.    In reliance on the strength of the LegendsCon brand and its growing

 8   recognition, Plaintiff undertook preparations for a second convention, LegendsCon

 9   II, which was originally scheduled to take place on February 2, 2025, at the same

10   venue as the original event. In connection with those plans, Plaintiff invested

11   considerable time and resources into securing the venue, coordinating vendors and

12   collaborators, developing marketing materials, and organizing programming.

13         16.    In or around early 2025, Plaintiff discovered that a separate and

14   unaffiliated organization operating under the name Legends Enclave had begun

15   promoting a similarly named fan convention event. That event, scheduled to take

16   place on September 13 and 14, 2025, was also booked at the Los Angeles Marriott
17   Burbank Convention Center, the same venue previously used by Plaintiff for
18   LegendsCon.
19         17.    Defendant Legends Enclave has never been affiliated with, authorized
20   by, or licensed by Plaintiff to use the LegendsCon trademark. Despite this,
21   Defendant promoted its own event using the Legends name in a way that imitated
22   Plaintiff’s branding, trade dress, and promotional materials. Defendant’s use of
23   similar logos, color schemes, stylization, and language has created the false
24   impression that its event is associated with or endorsed by Plaintiff.
25         18.    The close similarity between the names LegendsCon and Legends
26   Enclave, coupled with the identical venue, overlapping fan audience, and copied
27   branding elements, has led to actual confusion in the marketplace. Consumers,
28

                                               5

                                           COMPLAINT
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 1   vendors, and partners have mistakenly believed that Defendant’s event is either a

 2   continuation of, or somehow related to, the original LegendsCon event.

 3          19.     Plaintiff is informed and believe, and thereon allege, that Defendant

 4   intentionally sought to create confusion in order to benefit from the goodwill and

 5   reputation that Plaintiff has built around the LegendsCon brand. Defendant’s

 6   selection of the same venue, its use of closely resembling promotional styling, and

 7   its misleading representations have all contributed to widespread confusion and

 8   misassociation.

 9          20.     As a direct result of Defendant’s conduct, Plaintiff was forced to cancel

10   the scheduled LegendsCon II event. The confusion in the market, coupled with the

11   reputational interference caused by Defendant’s use of the LegendsCon mark, made

12   it infeasible for Plaintiff to proceed with the planned event. This cancellation

13   resulted in significant financial losses, the loss of vendor and sponsor relationships,

14   and lasting harm to Plaintiff’s reputation and brand value.

15          21.     Plaintiff issued a formal cease and desist letter to Defendant demanding

16   that it immediately cease all unauthorized use of the LegendsCon name, branding,
17   and related materials. After receiving the cease and desist letter, Defendant made
18   attempts to rebrand its event as “Legacy Expo.” However, the revised branding
19   continued to closely resemble the LegendsCon event in both appearance and
20   promotional style, perpetuating consumer confusion. Defendant and its affiliates
21   were previously redirecting customers, social media traffic, and event inquiries away
22   from LegendsCon to their own platforms. Despite notice, Defendant has not made
23   adequate efforts to disassociate itself from Plaintiff or to clarify the lack of any
24   affiliation.
25          22.     Defendant’s continued unauthorized use of the LegendsCon name and
26   branding, despite notice and actual confusion in the marketplace, has caused ongoing
27   harm to Plaintiff’s intellectual property rights, business operations, and ability to
28   promote and host future events.

                                                 6

                                             COMPLAINT
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 1

 2                                          COUNT I

 3          FEDERAL TRADEMARK INFRINGEMENT (15 U.S.C. § 1114)

 4

 5          23.    Plaintiff realleges and incorporates by reference the allegations of

 6   paragraphs 1-22 inclusive, as though fully set forth.

 7          24.   As their first cause of action, Plaintiff assert a claim for trademark

 8   infringement under Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1).

 9          25.   Plaintiff is the owner of United States Trademark Registration No.

10   7,550,135 for the standard character mark LEGENDSCON, which was registered on

11   October 29, 2024. The mark covers a broad range of entertainment-related services,

12   including organizing and hosting fan conventions.

13          26.   Plaintiff, through consistent and exclusive use of the LEGENDSCON

14   mark in commerce since at least 2022, have established strong common law rights

15   in the mark, in addition to the statutory protections afforded by federal registration.

16          27.   The LEGENDSCON mark has become a valuable asset of Plaintiff and
17   has acquired substantial goodwill among fans, vendors, sponsors, and the
18   entertainment community. It is recognized as identifying conventions and events
19   organized and operated by Plaintiff.
20          28.   Without     Plaintiff’s   authorization,    Defendant   has    used    the
21   LEGENDSCON mark, or a mark that is confusingly similar, in commerce in
22   connection with identical or closely related services, including the organization and
23   promotion of a fan convention to be held at the same venue previously used by
24   Plaintiff.
25          29.   Defendant’s use of the infringing name and associated branding has
26   caused, and is likely to continue to cause, confusion, mistake, and deception among
27   consumers, vendors, and the general public, including confusion as to the source,
28   sponsorship, affiliation, or approval of Defendant’s event.

                                                7

                                            COMPLAINT
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 1         30.    Defendant had both constructive notice of Plaintiff’s registered rights

 2   and actual notice through direct correspondence. Despite this, Defendant has

 3   continued to promote and market its event using the LegendsCon name and closely

 4   related derivatives.

 5         31.    Plaintiff is informed and believe that Defendant’s infringement is

 6   intentional and willful and has been committed with full knowledge of Plaintiff’s

 7   rights in the LEGENDSCON mark.

 8         32.    As a direct and proximate result of Defendant’s conduct, Plaintiff has

 9   suffered, and will continue to suffer, irreparable harm to their business, reputation,

10   and goodwill, as well as financial loss and damage to the value of the

11   LEGENDSCON mark.

12         33.    Plaintiff has no adequate remedy at law and are entitled to injunctive

13   relief to prevent further infringement. Plaintiff is also entitled to recover damages,

14   Defendant’s profits, and enhanced or treble damages, as well as attorneys’ fees and

15   costs pursuant to 15 U.S.C. § 1117.

16

17
                                           COUNT II
18
        FALSE DESIGNATION OF ORIGIN AND UNFAIR COMPETITION
19
                                     (15 U.S.C. § 1125(a))
20
21
           34.    Plaintiff realleges and incorporates by reference the allegations of
22
     paragraphs 1-33 inclusive, as though fully set forth.
23
           35.    As their second cause of action, Plaintiff assert a claim for false
24
     designation of origin and unfair competition under Section 43(a) of the Lanham Act,
25
     15 U.S.C. § 1125(a).
26
           36.    Plaintiff has used the LEGENDSCON mark in commerce in connection
27
     with fan conventions and entertainment services since at least 2022. Through
28

                                                8

                                            COMPLAINT
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 1   widespread promotion, consistent use, and public recognition, the mark has come to

 2   signify a single source of origin for such services, namely Plaintiff.

 3         37.     The LEGENDSCON mark is distinctive and associated in the minds of

 4   the consuming public with conventions organized and operated by Plaintiff. The

 5   mark functions as a source-identifier and conveys goodwill, trust, and brand

 6   reputation.

 7         38.     Defendant has used the identical or a confusingly similar mark in

 8   commerce in connection with similar fan convention services. Defendant’s use

 9   includes the promotion, advertisement, and marketing of events through social

10   media, websites, and other commercial channels.

11         39.     Defendant’s conduct is likely to cause, and has caused, confusion,

12   mistake, and deception as to the affiliation, connection, or association between

13   Plaintiff and Defendant, and as to the origin, sponsorship, or approval of Defendant’s

14   events by Plaintiff.

15         40.     Defendant’s use of names such as “LegendsCon,” “Legends Expo,” and

16   similar variants, coupled with visual branding that mimics Plaintiff’s trade dress and
17   promotional style, further contributes to marketplace confusion and misassociation.
18         41.     Defendant’s actions were undertaken knowingly and with the intent to
19   trade on the goodwill and reputation of the LEGENDSCON mark and to divert
20   consumers and commercial relationships from Plaintiff.
21         42.     As a direct and proximate result of Defendant’s conduct, Plaintiff has
22   suffered irreparable harm to their brand, loss of control over their reputation, lost
23   business opportunities, and actual marketplace confusion.
24         43.     Plaintiff is entitled to injunctive relief restraining Defendant from
25   further acts of unfair competition, as well as an award of damages, Defendant’s
26   profits, and attorneys’ fees and costs pursuant to 15 U.S.C. § 1117(a).
27

28

                                                9

                                            COMPLAINT
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 1                                        COUNT III
 2    STATUTORY UNFAIR COMPETITION (Cal. Bus. & Prof. Code § 17200)
 3

 4        44.     Plaintiff realleges and incorporates by reference the allegations of

 5   paragraphs 1-43 inclusive, as though fully set forth.

 6        45.     As their third cause of action, Plaintiff asserts a claim for unfair

 7   competition under California Business and Professions Code § 17200 et seq.

 8        46.     California’s Unfair Competition Law prohibits any unlawful, unfair, or

 9   fraudulent business act or practice. Defendant has engaged in conduct that is

10   unlawful under federal and state law, unfair to Plaintiff and the consuming public,

11   and likely to deceive consumers.

12        47.     Defendant’s unauthorized use of the LEGENDSCON mark, and its

13   deliberate attempt to mislead the public into believing its event is affiliated with

14   Plaintiff, constitutes both unlawful trademark infringement and unfair business

15   conduct within the meaning of the statute.

16        48.     Defendant’s acts were undertaken in bad faith and with the intent to

17   profit from Plaintiff’s reputation, goodwill, and established commercial presence in

18   the fan convention industry.
19        49.     Defendant’s actions have caused and are continuing to cause harm to
20   Plaintiff’s business, including the diversion of customers, confusion in the market,
21   and disruption of business relationships.
22        50.     Plaintiff is entitled to injunctive relief under California Business and
23   Professions Code § 17203 to prevent further unfair and unlawful business practices
24   by Defendant.
25        51.     Plaintiff also seeks restitution of any gains, profits, or advantages
26   obtained by Defendant as a result of its violations, in an amount to be proven at trial.
27

28

                                                 10

                                            COMPLAINT
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 1                                        COUNT IV

 2               INTENTIONAL INTERFERENCE WITH PROSPECTIVE

 3                               ECONOMIC ADVANTAGE

 4         52.     Plaintiff realleges and incorporates by reference the allegations of

 5   paragraphs 1-51 inclusive, as though fully set forth herein.

 6         53.     As their fourth cause of action, Plaintiff asserts a claim for intentional

 7   interference with prospective economic advantage under California common law.

 8         54.     At all relevant times, Plaintiff had existing and ongoing economic

 9   relationships with sponsors, vendors, attendees, venue partners, and other third

10   parties in connection with the organization and promotion of LegendsCon events.

11         55.     Plaintiff had a reasonable expectation that these relationships would

12   result in continued business opportunities, including the successful execution of

13   LegendsCon II and future conventions.

14         56.     Defendant knew or should have known of Plaintiff’s economic

15   relationships and business expectations, particularly given Plaintiff’s established

16   presence in the fan convention community and Defendant’s use of nearly identical
17   event names, themes, and branding. On information and belief, individuals who
18   previously volunteered for Plaintiff’s events are now involved in organizing or
19   supporting Defendant’s competing event, further suggesting that Defendant had
20   actual knowledge of Plaintiff’s business model, relationships, and commercial
21   expectations.
22         57.     Defendant intentionally engaged in conduct that disrupted and
23   interfered with those relationships. Such conduct includes Defendant’s unauthorized
24   use of the LegendsCon mark, misrepresentations of affiliation, and promotion of a
25   competing event that caused confusion in the marketplace.
26         58.     Defendant’s conduct was independently wrongful because it
27   constituted trademark infringement, false designation of origin, and unfair
28

                                                11

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 1   competition, and was carried out with the intent to interfere with Plaintiff’s business

 2   interests.

 3          59.   As a direct and proximate result of Defendant’s interference, Plaintiff

 4   suffered substantial harm, including the cancellation of LegendsCon II, lost revenue,

 5   reputational damage, and disruption of business relationships.

 6          60.   Defendant’s actions were willful, deliberate, and carried out with

 7   malice, oppression, or fraud, entitling Plaintiff to an award of compensatory and,

 8   where appropriate, punitive damages in an amount to be determined at trial.

 9

10
                                  REQUEST FOR RELIEF
11

12
           WHEREFORE, Plaintiff respectfully requests that this Court:
13
        A. Enter a judgment declaring that Defendant has infringed upon Plaintiff’s
14
            federally registered trademark LEGENDSCON in violation of 15 U.S.C. §
15
            1114(1);
16
        B. Enter a judgment declaring that Defendant’s use of “LegendsCon,” “Legends
17
            Expo,” “Legacy Expo,” or any similar designation constitutes federal unfair
18
            competition and false designation of origin in violation of 15 U.S.C. §
19
            1125(a);
20
        C. Enter a judgment declaring that Defendant’s conduct constitutes unlawful and
21
            unfair business practices under California Business & Professions Code §
22
            17200 et seq. and intentional interference with Plaintiff’s prospective
23
            economic advantage;
24
        D. Permanently enjoin Defendant and all persons acting in concert with it from
25
            using the LEGENDSCON mark, or any name or designation that is
26
            confusingly similar thereto, in connection with any events, promotions, goods,
27
            or services;
28

                                               12

                                            COMPLAINT
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 1      E. Order Defendant to immediately remove and cease all use of digital, physical,

 2          and promotional materials bearing the infringing marks, and to destroy any

 3          remaining infringing materials in their possession, custody, or control;

 4      F. Order Defendant to issue corrective statements to attendees, vendors,

 5          sponsors, and the public, disclaiming any affiliation with Plaintiff and

 6          clarifying the lack of authorization to use the LegendsCon name or branding;

 7      G. Award Plaintiff all profits derived by Defendant from its infringing activities,

 8          to be trebled due to the willful and deliberate nature of the infringement,

 9          pursuant to 15 U.S.C. § 1117(b);

10      H. Award Plaintiff compensatory and punitive damages for economic and

11          reputational harm caused by Defendant’s conduct, including but not limited

12          to the cancellation of LegendsCon II, lost business opportunities, and diverted

13          customer relationships;

14      I. Award Plaintiff reasonable attorneys’ fees and costs of suit pursuant to 15

15          U.S.C. § 1117(a) and applicable California law;

16      J. Grant Plaintiff such other and further relief as the Court deems just and proper.
17

18                             DEMAND FOR A JURY TRIAL
19          Pursuant to Rule 28(b) of the Federal Rules of Civil Procedure, Plaintiff
20   requests a jury trial of all issues that may be tried to a jury in this action.
21

22          RESPECTFULLY SUBMITTED this 11th day of July, 2025.
23

24                                                    OMNI LEGAL GROUP
25
                                                      /s/ Omid E. Khalifeh
26                                                    Omid E. Khalifeh
27                                                    Ariana Santoro
                                                      Louise Jillian Paris
28                                                    Attorneys for Plaintiff
                                                 13

                                              COMPLAINT
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                 EXHIBIT A
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Reg. No. 7,550,135           Rawlings, Kyle Ian (UNITED STATES INDIVIDUAL)
                             2108 N St, Suite N,
Registered Oct. 29, 2024     Sacramento, CALIFORNIA 95816
Int. Cl.: 41                 CLASS 41: Admission ticket reservation and booking services for night clubs and night
                             club events; Arranging and conducting nightclub entertainment events; Arranging and
Service Mark                 conducting special events for social entertainment purposes; Arranging for ticket
Principal Register           reservations for shows and other entertainment events; Arranging, organizing,
                             conducting, and hosting social entertainment events; Charitable services, namely,
                             providing children with serious medical conditions or disabilities with aviation related
                             educational programs and events, namely, arts and crafts instruction, educational
                             exhibits, guided tours of aircrafts, conversations with pilots, and recreational airplane
                             rides, not for the purpose of transportation; Conducting entertainment exhibitions in the
                             nature of conventions in the fields of literature, films, science fiction and cosplay;
                             Conducting of entertainment events in the nature of convention in the fields of
                             literature, films, science fiction and cosplay; Consultation in the field of special event
                             planning for social entertainment purposes; Disc jockeys for parties and special events;
                             Entertainment event booking agencies; Entertainment and recreational services, namely,
                             organizing and conducting a knitting/crocheting event the proceeds of which are
                             donated to charity; Entertainment services in the nature of arranging social
                             entertainment events; Entertainment services in the nature of hosting social
                             entertainment events; Entertainment services in the nature of organizing social
                             entertainment events; Entertainment services in the nature of production of live events
                             for parties and special events for social entertainment purposes; Entertainment services,
                             namely, producing cheerleading, dance and spirit-related competitions and events;
                             Hosting social entertainment events, namely, conventions in the fields of literature,
                             films, science fiction and cosplay, for others; Musical event booking agencies;
                             Organization of events for cultural purposes; Organization of entertainment events in
                             the nature of conventions in the fields of literature, films, science fiction and cosplay;
                             Organization of entertainment exhibition events; Organization of social entertainment
                             events for adults, children; Organizing events in the field of film for cultural or
                             educational purposes; Organizing community sporting and cultural events; Organizing
                             cultural and arts events; Organizing, arranging and conducting cosplay convention
                             events, the proceeds of which are donated to charity; Organizing, arranging, and
                             conducting convention events in the fields of literature, films, science fiction and
                             cosplay; Party planning of conventions in the fields of literature, films, science fiction
                             and cosplay; Presenting live cosplay entertainment events; Providing a website for
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                       persons to register for surprise events and classes for the purpose of entertainment;
                       Providing advice and information in the field of educational and entertainment activities
                       and events for children; Providing information relating to educational and entertainment
                       activities and events for children; Providing information, news and commentary in the
                       field of current events relating to the gay community; Providing information, news and
                       commentary in the field of current events relating to film and media; Providing news in
                       the nature of current event reporting relating to film and media via the Internet; Social
                       club services, namely, arranging, organizing, and hosting social events, get-togethers,
                       and parties for club members; Special event planning for social entertainment purposes;
                       Ticket agency services for entertainment events; Ticket reservation and booking for
                       entertainment events; Ticket reservation and booking services for entertainment,
                       sporting and cultural events; Ticket reservation and booking services for recreational
                       and leisure events, namely, conventions in the fields of literature, films, science fiction
                       and cosplay

                       FIRST USE 1-00-2022; IN COMMERCE 1-00-2023

                       THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                       ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                       SER. NO. 98-290,852, FILED 11-29-2023




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     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

   WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
          DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


Requirements in the First Ten Years*
What and When to File:


    • First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
      years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
       registration will continue in force for the remainder of the ten-year period, calculated from the registration
       date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


    • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
      for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

    • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
      between every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with the
payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use (or
Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO). The
time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally
issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations do not file
renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying international
registration at the International Bureau of the World Intellectual Property Organization, under Article 7 of the
Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the date of the
international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the international
registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at
http://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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